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 Counsel for Highland Capital Management, L.P.,                 Counsel for James P. Seery, Jr.
 and the Highland Claimant Trust

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                  )
 In re:                                                           )   Chapter 11
                                                                  )
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             )   Case No. 19-34054-sgj11
                                                                  )
                                     Reorganized Debtor.          )
                                                                  )

  DECLARATION OF JOHN A. MORRIS IN SUPPORT OF HIGHLAND CAPITAL
     MANAGEMENT, L.P., HIGHLAND CLAIMANT TRUST, AND JAMES P.
SEERY, JR.’S JOINT OPPOSITION TO HUNTER MOUNTAIN INVESTMENT
TRUST’S MOTION FOR LEAVE TO FILE VERIFIED ADVERSARY PROCEEDING



1
  Highland’s last four digits of its taxpayer identification number are (8357). The headquarters and service address
for Highland is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



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           I, John A. Morris, pursuant to 28 U.S.C. § 1746, under penalty of perjury, declare as

follows:

           1.       I am a partner in the law firm of Pachulski, Stang, Ziehl & Jones LLP, counsel to

Highland Capital Management, L.P. (“HCMLP”), the reorganized debtor in the above-referenced

bankruptcy case, and the Highland Claimant Trust (the “Trust” and together with HCMLP,

“Highland”). I submit this declaration (the “Declaration”) in support of the opposition (the

“Opposition”) to Hunter Mountain Investment Trust’s (“HMIT”) Emergency Motion for Leave to

File Verified Adversary Petition [Docket No. 3699] and Hunter Mountain Investment Trust’s

Supplement to Emergency Motion for Leave to File Verified Adversary Proceeding [Docket

No. 3760] being filed simultaneously with this Declaration by Highland and James P. Seery, Jr.

(“Mr. Seery”), HCMLP’s Chief Executive Officer and the Claimant Trustee of the Trust. 2 This

Declaration is based on my personal knowledge and review of the documents listed below.

           2.       Attached as Exhibit 1 is a true and correct copy of the Fifth Amended Plan of

Reorganization of Highland Capital Management, L.P. (As Modified) filed on January 22, 2021

[Docket No. 1808].

           3.       Attached as Exhibit 2 is a true and correct copy of the Order (I) Confirming the

Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As Modified) and

(II) Granting Related Relief entered on February 22, 2021 [Docket No. 1943].

           4.       Attached as Exhibit 3 is a true and correct copy of the Verified Petition to Take

Deposition Before Suit and Seek Documents filed by James Dondero in Cause No. DC-21-09534

on July 22, 2021.




2
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Opposition.



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        5.       Attached as Exhibit 4 is a true and correct copy of the Verified Amended Petition

to Take Deposition Before Suit and Seek Documents filed by James Dondero in Cause No. DC-21-

09534 on May 2, 2022.

        6.       Attached as Exhibit 5 is a true and correct copy of the Declaration of James

Dondero dated May 31, 2022, filed in Cause No. DC-21-09534.

        7.       Attached as Exhibit 6 is a true and correct copy of the Memorandum Opinion and

Order Granting James Dondero's Motion to Remand Adversary Proceeding to State Court,

Denying Fee Reimbursement Request, and Related Rulings entered on January 4, 2022 [Adv. Pro.

No. 21-03051, Docket No. 23].

        8.       Attached as Exhibit 7 is a true and correct copy of an Order dated June 1, 2022

entered in Cause No. DC-21-09534 denying the First Rule 202 Petition and dismissing the case.

        9.       Attached as Exhibit 8 is a true and correct copy of Petitioner Hunter Mountain

Investment Trust’s Verified Rule 202 Petition filed by HMIT in Cause No. DC-23-01004 on

January 20, 2023.

        10.      Attached as Exhibit 9 is a true and correct copy of the Declaration of James

Dondero (with Exhibit 1) dated February 15, 2023, filed in Cause No. DC-23-01004.

        11.      Attached as Exhibit 10 is a true and correct copy of an Order dated March 8, 2023

entered in Cause No. DC-23-01004 denying the Second Rule 202 Petition and dismissing the case.

        12.      Attached as Exhibit 11 is a true and correct copy of an email sent by James Dondero

to Mr. Seery on December 17, 2020 (the “MGM E-Mail”).

        13.      Attached as Exhibit 12 are true and correct copies of James Dondero’s resignation

letters dated January 9, 2020.




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          14.    Attached as Exhibit 13 is a true and correct copy of James Dondero’s October 9,

2020 e-mail in which he resigned from his positions at Highland and affiliates.

          15.    Attached as Exhibit 14 is a true and correct copy of the Advisors’ October 16, 2020

letter.

          16.    Attached as Exhibit 15 is a true and correct copy of the Memorandum Opinion and

Order Granting in Part Plaintiff's Motion to Hold James Dondero in Civil Contempt of Court for

Alleged Violation of TRO entered on June 7, 2021 [Adv. Pro. No. 20-03190, Docket No. 190].

          17.    Attached as Exhibit 16 is a true and correct copy of the Order (A) Approving the

Adequacy of the Disclosure Statement; (B) Scheduling a Hearing to Confirm the Fifth Amended

Plan of Reorganization; (C) Establishing Deadline for Filing Objections to Confirmation of Plan;

(D) Approving Form of Ballots, Voting Deadline and Solicitation Procedures; and (E) Approving

Form and Manner of Notice entered November 24, 2020 [Docket No. 1476].

          18.    Attached as Exhibit 17 are true and correct copies of written notices of termination

of shared services agreements with NexPoint Advisors, L.P. and Highland Capital Management

Advisors, L.P., respectively, each dated November 30, 2020.

          19.    Attached as Exhibit 18 is a true and correct copy of the Demand Letter sent to

James Dondero on December 3, 2020.

          20.    Attached as Exhibit 19 is a true and correct copy of the Demand Letter sent to

HCMFA on December 3, 2020.

          21.    Attached as Exhibit 20 is a true and correct copy of the Demand Letter sent to

HCRE on December 3, 2020.

          22.    Attached as Exhibit 21 is a true and correct copy of the Demand Letter sent to

HCMS on December 3, 2020.




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        23.      Attached as Exhibit 22 is a true and correct copy of James Dondero’s text message

to James Seery sent on December 3, 2020.

        24.      Attached as Exhibit 23 is a true and correct copy of the Order Granting Debtor's

Motion for a Temporary Restraining Order Against James Dondero entered December 10, 2020

[Adv. Pro. No. 20-03190, Docket No. 10].

        25.      Attached as Exhibit 24 is a true and correct copy of the transcript of the hearing

held on December 16, 2020.

        26.      Attached as Exhibit 25 is a true and correct copy of an article entitled MGM Leads

2020 Media Acquisition Targets as the Entertainment World Splits Into Haves and Have-Nots

(Jan. 26, 2020).

        27.      Attached as Exhibit 26 is a true and correct copy of an article entitled It’s ‘No Time

to Die’ for Hedge-Fund Manager Ulrich’s Big James Bond Bet (Oct. 11, 2020).

        28.      Attached as Exhibit 27 is a true and correct copy of an article entitled MGM

Holdings, Studio Behind ‘James Bond,’ Explores a Sale (Dec. 21, 2020).

        29.      Attached as Exhibit 28 is a true and correct copy of an article entitled The World

Is Net Enough! Amazon Joins Other Streaming Services in £4bn Bidding War For Bond Films As

MGM Considers Selling Back Catalogue (Dec. 23, 2020).

        30.      Attached as Exhibit 29 is a true and correct copy of an article entitled Could Apple

Be Ready to Gobble Up MGM Studios Entirely? (Dec. 24, 2020).

        31.      Attached as Exhibit 30 is a true and correct copy of an article entitled MGM Is For

Sale (Again) (January 15, 2021).

        32.      Attached as Exhibit 31 is a true and correct copy of an email sent by Mr. Seery to

the other Independent Directors on December 18, 2020.




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         33.     Attached as Exhibit 31-a is a true and correct copy of Highland CLO Funding

Ltd.’s Statement of Financial Position as of November 30, 2020.

         34.     Attached as Exhibit 32 is a true and correct copy of James Dondero’s Objection to

Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest [Docket No.

1697].

         35.     Attached as Exhibit 33 is a true and correct copy of a letter from the Texas State

Securities Board to Highland Capital Management, L.P., dated May 9, 2023.

         36.     Attached as Exhibit 34 is a true and correct copy of an article entitled Amazon's

$8.45 Billion Deal for MGM is Historic But Feels Mundane (May 26, 2021).

         37.     Attached as Exhibit 35 is a true and correct copy of a letter from Davor Rukavina,

to counsel to NexPoint, to Stonehill Capital Partners, dated October 14, 2022.

         38.     Attached as Exhibit 36 is a true and correct copy of the Order Approving Debtor’s

Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P.

Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer and Foreign Representative

Nunc Pro Tunc to March 15, 2020 entered on July 16, 2020 [Docket No. 854].

         39.     Attached as Exhibit 37 is a true and correct copy of the Disclosure Statement for

the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No.

1473].

         40.     Attached as Exhibit 38 is a true and correct copy of the Claimant Trust Agreement,

effective as of August 11, 2021.

         41.     Attached as Exhibit 39 is a true and correct copy of the August 26, 2021 Minutes

of the Meeting of the Claimant Trust Oversight Board of the Highland Claimant Trust.




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        42.      Attached as Exhibit 40 is a true and correct copy of the August 30, 2021 Minutes

of the Meeting of the Claimant Trust Oversight Board of the Highland Claimant Trust

        43.      Attached as Exhibit 41 is a true and correct copy of a Memorandum of Agreement

executed December 6, 2021.

        44.      Attached as Exhibit 42 is a true and correct copy of the Assignment Agreement,

effective as of October 8, 2021.

        45.      Attached as Exhibit 43 is a true and correct copy of the transcript of the hearing

held on April 24, 2023.

        46.      Attached as Exhibit 44 is a true and correct copy of the Litigation Sub-Trust

Agreement, effective as of August 16, 2021.


Dated: May 11, 2023
                                                      /s/ John A. Morris
                                                          John A. Morris




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